                                Case 19-25851-CLC                 Doc 78          Filed 09/08/21           Page 1 of 8
Fill in this information to identify the case:

Debtor 1                Sonia Vales
Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       Southern District of Florida
                                                                                  (State)
Case number              19-25851-AJC




Official Form 410S1
Amended Notice of Mortgage
Payment Change                                                                                                                                      12/15/15
If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a
supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

                            U.S. Bank Trust National Association, as Trustee of
Name of creditor:           the LB Igloo Series IV Trust                             Court claim no. (if known):           5-1
                                                                                     Date of Payment Change:
Last 4 digits of any number you use to                                               Must be at least 21 days after date
identify the debtor's account:         XXXXXXX0400                                   of this notice                              7/1/2021



                                                                                       New total payment:
                                                                                       Principal, interest, and escrow, if any           $ 241.71

Part 1:               Escrow Account Payment Adjustment


1     Will there be a change in the debtor's escrow account payment?
               No

               Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
               the basis for the change. If a statement is not attached, explain why:


               Current escrow payment: $        2.45                                   New escrow payment: $ 13.43


Part 2:               Mortgage Payment Adjustment


2     Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
               No

               Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
               explain why:



               Current interest rate:                         %              New interest rate:                                  %

               Current principal and interest payment: $                              New principal and interest payment:            $


Part 3:               Other Payment Change


3     Will there be a change in the debtor's mortgage payment for a reason not listed above?
               No

               Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                    (Court approval may be required before the payment change can take effect.)


Official Form 410S1                                      Notice of Mortgage Payment Change                                                            page 1
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Debtor 1                   Sonia                                          Vales                         Case number (if known) 19-25851-AJC
                           First Name            Middle Name               Last Name

                   Reason for change:


                   Current mortgage payment:          $                                      New mortgage payment: $



Part 4:         Sign Here


The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
number.
Check the appropriate box.
           I am the creditor.

           I am the creditor's authorized agent.



I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
information, and reasonable belief.


X   /s/ Matthew Klein                                                                                   Date    9/8/2021
    Signature


Print:              Matthew                                    Klein                                    Title   Attorney for Secured Creditor
                    First Name          Middle Name            Last Name

Company             Howard Law Group


Address             4755                Technology Way, Suite 104
                    Number              Street

                    Boca Raton                                           FL                  33431
                    City                                               State               ZIP Code

Contact Phone       954-893-7874                                                                        Email   matthew@howardlaw.com




I HEREBY CERTIFY that on September 8, 2021, I electronically filed the foregoing with the Clerk of Court by
using the CM/ECF System, which will send a notice of electronic filing to all CM/ECF participants:

Mandy L Mills, Esq., 4343 W. Flagler Street, Ste. 100, Miami, FL 33134
Nancy K. Neidich, POB 279806, Miramar, FL 33027
Office of the US Trustee, 51 S.W. 1st Ave., Suite 1204, Miami, FL 33130
And a copy was mailed via US Mail to:
Sonia Vales, 20275 NE 2nd Avenue #9, Miami, FL 33179




Official Form 410S1                                       Notice of Mortgage Payment Change                                                     page 2
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------ manifest line ---------
CAROLINA A LOMBARDI
LEGAL SERVICES OF GREATER MIAM
4343 WEST FLAGLER STREET #100
MIAMI, FL 33134




                                                                                                                   001216 1/3
DTTAFADDTTFTDTFTFDTDDADADAFADFATDDFTAAAFDTTADFAAATDFDTDFADDDTDFFT




Date: August 20, 2021
Case: 19-25851
Loan Number:



Dear Sir/Madame,

Enclosed is correspondence relating to a loan we service for your client.




Sincerely,

Rushmore Loan Management Services LLC



                                                                                                                       ALGPBPHMHLGPFJBKAPFIEIDNGLEPAPGK
                                                                                                                                                          AGGMOCOOIOOGGCOKACCMMOKCAMAMIAOK
                                                                                                            --- no inserts ---
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ALGPBPHMHIBMGK
APHMOGNOOBFCPK
AELCCHJGPADMJK
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                                                                                                                             Escrow Analysis
                                     Case 19-25851-CLC                        Doc 78     Filed 09/08/21             Page 5 of 8

                                                                                                                                  Statement
                                                                                               Statement Date:                                     August 20, 2021
                                                                                               Loan Number:




      SONIA JOSEPH
      20275 NE 2ND AVE
      MIAMI FL 33179-0000




                                                                                                                                                                          001216 2/3
   We review your escrow account annually to ensure that you have adequate funds to cover your tax and insurance items for the next 12 months. The amounts billed
   for certain escrow items changed. This statement describes the changes, possible changes to your monthly payments, and your options.

What changed?
                        Property Taxes
        $100.00
         $88.89
         $77.78
         $66.67
         $55.56
         $44.44
         $33.33
         $22.22
         $11.11
          $0.00
                       N/A               Current
             Taxes increased by $39.75 per year.
    Changes in the above items mean that the amount needed in your escrow account increased by $39.75 per year.
How do these changes affect me?
 Based upon the Anticipated Escrow Disbursements and Payments, we have determined that your Escrow Account does not have sufficient funds. If you do nothing, the new
 monthly payment amount for this loan is $241.71 (Option 1) which includes a monthly shortage amount of $10.12. However, you may choose to make a one-time escrow
 shortage payment of $606.96 in which case your monthly payment amount will be $231.59 (Option 2). Changes to property taxes and insurance premiums are common
 and result in changes to required mortgage payments.
                                      Current                          Option1- Shortage   Option 2-Shortage
                                      Payment          Escrow Change added to payment over     paid in full
                                                                        next 12 months
                 Due Date                02/2021                                                 07/2021                      07/2021
     Principal and Interest              $228.28                                                 $228.28                      $228.28
         Escrow Payment                     $2.45                  $10.98                          $3.31                         $3.31
         Escrow Shortage                                                                          $10.12
                   TOTAL                 $230.73                                                 $241.71                      $231.59
    A detailed explanation of the calculations for your escrow account is located on page 2.
                                                                                                                                                                              ALGPBPHMHLGPFJBKAPFIEIDNGLEPAPGK
                                                                                                                                                                                                                 AGGMOCOOIOOGGCOKACCMMOKCAMAMIAOK




   Note: 'Online bill payment users: Your payment is changing effective 07/01/2021 so action is required. Please log into your bank's online account and update your
   payment amount. Thank you!


                                  Please detach this escrow shortage coupon, write your loan number on a check or money order payable to
                                  Rushmore Loan Management Services LLC and mail both in the enclosed envelope.
Rushmore Loan Management Services LLC                                                   You have the following options to repay your Escrow Shortage:
ESCROW SHORTAGE COUPON                                                                  A.Repay the Escrow Shortage Monthly— Do nothing. The total shortage
                                                                                          has been divided over 12 months and $10.12 will automatically be added
Loan Number:                                                                              to your monthly payment beginning Jul 01, 2021 unless you repay the
Mortgager Name: SONIA JOSEPH                                                              escrow shortage in full.
                                                                                        B.Repay the Escrow Shortage in Full by 06/16/21— While you are not
Escrow Shortage Amount: $606.96                                                           required by law to pay the entire shortage in one lump sum payment, you may
Escrow Shortage Pay By Date: June 16, 2021                                                do so if you wish. If you choose to repay the escrow shortage in full, please
                                                                                          submit a check in the amount of $606.96 along with this coupon to the
                                                                                          address listed. Your new monthly payment will be $231.59 once the
          Rushmore Loan Management Services LLC
          P.O. Box 514707                                                                 escrow shortage is paid in full.
          Los Angeles, CA 90051-4707
          DTTAFADDTTFTDTFTFDTDDADADAFADFATDDFTAAAFDTTADFAAATDFDTDFADDDTDFFT




                                                            9999999999020120217603330400000006069600000000007
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 August 20, 2021                                                                                                       Loan Number:


How did Rushmore make the escrow calculations?
 Step 1: Rushmore analyzes all items paid by the escrow account, we then calculate the amount that you’ll likely need to pay these
 bills.
 Step 2: We take your anticipated taxes and/or insurance premiums to determine the total outgoing payments. We then divide the
 total outgoing payments by 12 to determine your monthly escrow amount.
 Your total anticipated tax and/or insurance premium(s) are as follows:
 Annual Property Taxes                             $39.75
 Total                                             $39.75 divided by 12 months = $3.31
 Step 3: We calculate the minimum required escrow balance. Your escrow account must have a minimum balance of $0.00 for the
 next year.
 Step 4: We calculate your annual escrow account projection for the coming year. If your monthly escrow balance falls below the
 minimum balance of $0.00, your escrow account experiences a shortage. If our calculation determines that your monthly escrow
 balance will not reach the minimum balance, your escrow account will have an overage.
 The table below demonstrates the estimated activity in your escrow account for the coming year.

What escrow activity is expected in the coming year?
  The highlighted row indicates the lowest estimated escrow balance for the year of -$611.90. The difference between the lowest
  projected balance of -$611.90 and the minimum required escrow balance of $0.00 is $606.96.
  $606.96 is your escrow shortage.
                            PAYMENTS        ESTIMATED PAYMENTS FROM                                                  ESCROW ACCOUNT
                               TO              ESCROW ACCOUNT                                                              BALANCE
                             ESCROW MIP/PMI      Taxes      Flood Homeowner's                                        Estimated Required
                            ACCOUNT                     Insurance        Insurance
          Anticipated
                                                                  Starting Balance                                     -$588.70            $23.20




                                                                                                                                                            ALGPBPHMHIBMGK
                                                                                                                                                                             APHMOGNOOBFCPK
                                                                                                                                                                                              AELCCHJGPADMJK
                                                                                                                                                                                                               DDLLDDLLLLDLLL
         Date of Activity
              Jul 21                $3.31                                                                               -$585.39            $26.51
             Aug 21                 $3.31                                                                               -$582.08            $29.82
             Sep 21                 $3.31                                                                               -$578.77            $33.13
             Oct 21                 $3.31                                                                               -$575.46            $36.44
            Nov 21                  $3.31                          $39.75                                               -$611.90             $0.00
             Dec 21                 $3.31                                                                               -$608.59             $3.31
             Jan 22                 $3.31                                                                               -$605.28             $6.62
             Feb 22                 $3.31                                                                               -$601.97             $9.93
             Mar 22                 $3.31                                                                               -$598.66            $13.24
             Apr 22                 $3.31                                                                               -$595.35            $16.55
            May 22                  $3.31                                                                               -$592.04            $19.86
             Jun 22                 $3.31                                                                               -$588.73            $23.17

  NOTE: If this escrow analysis indicates that there is a surplus, it may not mean that you are entitled to receive a return of that surplus. This
  analysis was calculated based on an assumption that the account is current according to the terms of the note and Mortgage/Deed of Trust. If
  the account is behind, in default, or in bankruptcy, this analysis may not reflect the current state of the account or the terms of a bankruptcy
  plan. If there are enough funds in the escrow account the surplus will be mailed to you within 30 days, provided the account is current under the
  terms of the note and Mortgage/Deed of Trust.

          E—Indicates the activity has not yet occurred but is estimated to occur as shown.
  *If there is an amount listed in the “Actual” column under Payments To Escrow Account on Page 2 above, then this is the assumption that was made and

  indicates the amount that would have been paid into escrow for a contractually current loan. This number does not represent payments that were actually

  made by you. As discussed above, these escrow calculations are calculated based on an assumption that the account would be current according to the

  terms of the note and mortgage/deed of trust.




             Back of coupon or check intentionally left blank
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August 20, 2021                                                                                                Loan Number:
 Rushmore Loan Management Services LLC is a Debt Collector, who is attempting to collect a debt. Any information obtained will be used for
 that purpose. However, if you are in Bankruptcy or received a Bankruptcy Discharge of this debt, this letter is being sent for informational
 purposes only, is not an attempt to collect a debt and does not constitute a notice of personal liability with respect to the debt.

                                                        ADDITIONAL NOTICES
 Rushmore Loan Management Services LLC is a Debt Collector attempting to collect a debt.
 Bankruptcy Notice. If you are in bankruptcy or if your obligation to repay this loan was discharged in bankruptcy, this
 informational notice is sent to you in order to comply with statutory requirements. It is not an attempt to collect a debt. You may
 disregard information relating to payment remittance. You are not obligated to make payments and any amount(s) you do pay
 Rushmore is at your discretion. Please note, however, Rushmore reserves the right to exercise its legal rights, including but not




                                                                                                                                                    001216 3/3
 limited to foreclosure of its lien interest, only against the property securing the original obligation.
 If you have any other mortgage loans secured by the same property not serviced by Rushmore, please contact your other servicer
 directly to discuss any possible loss mitigation options that may be available to you.
 If you are a confirmed Successor-in-Interest who has not assumed the mortgage loan obligation under State Law, this letter is being
 sent for information purposes only and does not constitute personal liability with respect to the debt.
 LEGAL NOTIFICATION: Rushmore Loan Management Services LLC may report information about your account to credit
 bureaus. Late payments, missed payments or other defaults on your account may be reflected in your credit report.
 Notice of Error Resolution & Information Request Procedures
 The following outlines the Error Resolution and Information Request Procedures for your mortgage account at Rushmore Loan
 Management Services LLC (RLMS). Please keep this document for your records.
 If you think an error has occurred on your mortgage account or if you need specific information about the servicing of

 your loan, please write us at:


                                                Rushmore Loan Management Services LLC
                                                              P.O. Box 52262
                                                          Irvine, CA 92619-2262
 All written requests for information or notices of error should contain the following information:
     1. Your name
     2. Account number
     3. Property Address
     4. Description of the error and explanation as to why you believe it is an error or a request for specific information regarding
        the servicing of your loan
     5. Current contact information so we may follow up with you
 All written requests for specific information will be handled within 30 days of receipt. We will determine whether an error
 occurred within 30 days after receiving your notice of error and will correct any error promptly (Notices of error on payoff
 statements will be handled within 7 days). If additional time is needed to investigate your complaint or request, we may take up to
 45 days but we will notify you of the extension within the original 30 days. If we decide that there was no error, we will send you a
 written explanation. You may ask for copies of the documents that we used in our investigation.
 HUD STATEMENT
 Pursuant to section 169 of the Housing and Community Development Act of 1987, you may have the opportunity to receive
 counseling from various local agencies regarding the retention of your home. You may obtain a list of the HUD approved housing
 counseling agencies by calling the HUD nationwide toll-free telephone at 1-800-569-4287.
                                                                                                                                                        ALGPBPHMHLGPFJBKAPFIEIDNGLEPAPGK
                                                                                                                                                                                           AGGMOCOOIOOGGCOKACCMMOKCAMAMIAOK




 Equal Credit Opportunity Act Disclosure
 NOTICE: The federal Equal Credit Opportunity Act prohibits creditors from discriminating against credit applicants on the basis of
 race, color, religion, national origin, sex, marital status, age (provided the applicant has the capacity to enter into a binding
 contract); because all or part of the applicant's income derives from any public assistance program; or because the applicant has in
 good faith exercised any right under the Consumer Credit Protection Act. The federal agency that administers compliance with this
 law concerning this creditor is the Bureau of Consumer Financial Protection, 1700 G Street NW, Washington, DC 20552 or
 Federal Trade Commission, Equal Credit Opportunity, Washington, DC 20580.




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